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                EXHIBIT B
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         UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS
PETER BARBARA and JOHN DREW,                                   HOUSTON DIVISION
versus                                           CIVIL ACTION NO. 4:22-CV-003340
MCGRIFF INSURANCE SERVICES, INC.,                     DEFENDANT’S WITNESS LIST
LIST OF: DEFENDANT                               COUNSEL: GARY D. EISENSTAT AND JOHN M.
TYPE OF HEARING: TRIAL                           BARCUS (OGLETREE DEAKINS)
JUDGE:              CLERK:                       REPORTER:
ANDREW S. HANEN     RHONDA HAWKINS
NO.                                      NAME OF WITNESS
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      McGriff employees regarding the fact that McGriff did not select Drew to receive a
      forgivable loan under the Program.

3.    Jennifer Vanloock
      Current McGriff employee; c/o undersigned counsel
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      and certain other Producers were not selected to receive forgivable producer loans under
      the Program, and regarding Drew’s compensation package with McGriff, including terms
      negotiated at the outset of employment as well as McGriff’s practice, beginning in 2005,
      of giving Drew 100% credit (for salary purposes) of new business on accounts he
      originated, even where another Producer also serviced the account and received credit of
      their own.

4.    Christina Bailey
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      the Program, as well as regarding her role in preparing McGriff’s responses to Drew’s
      charge of discrimination and subsequent requests for information received by McGriff
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Case 4:22-cv-03340       Document 33-2        Filed on 12/27/23 in TXSD         Page 3 of 17




5.   Bruce Dunbar

     3025 Cherokee Road
     Birmingham, AL 35223
     (205) 969-0913

     Anticipated to testify regarding McGriff’s implementation of the Program, including the
     criteria applied by McGriff in determining whether to issue discretionary forgivable loans
     to certain producers under the Program; and McGriff’s reason(s) for electing not to issue
     discretionary forgivable loans to Drew and certain other producers.

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     forgivable loan under the Program.

7.   Tom Lambert
     3255 Carl Morgan Road
     Moody, AL 35004
     (205) 837-9301 (Mobile)

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9.   Jay Aldis
     Gray Reed & McGraw LLP
     1300 Post Oak Blvd., Suite 2000
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     (713) 986-7175

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                                               Respectfully submitted,

                                               By: /s/ Gary D. Eisenstat
                                                Gary D. Eisenstat
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                                                gary.eisenstat@ogletree.com
                                                John M. Barcus
                                                Texas State Bar No. 24036815
                                                john.barcus@ogletree.com
                                                OGLETREE, DEAKINS, NASH, SMOAK &
                                                STEWART, P.C.
                                                Preston Commons West
                                                8117 Preston Road, Suite 500
                                                Dallas, Texas 75225
                                                (214) 987-3800
                                                (214) 987-3927 (Facsimile)

                                                 ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2023, the foregoing document was filed using the
Court’s electronic filing system, which will send notification of such filing to all counsel of record.


                                                  /s/ Gary D. Eisenstat
                                                  Gary D. Eisenstat
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